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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
T-MOBILE US, INC., CLEARWIRE SPECTRUM HOLDINGS CASE NUMBER
LLC, CLEARWIRE SPECTRUM HOLDINGS II LLC,         CV 23-4347-DMG (Ex)
CLEARWIRE SPECTRUM HOLDINGS III LLC, FIXED
WIRELESS HOLDINGS LLC, NSAC LLC, TDI ACQUISITION
SUB LLC, AND WBSY LICENSING LLC,
                                                        Plaintiff(s)
                                  v.
WCO SPECTRUM LLC, SCH LLC, ACADEMIA SPECTRUM                                        ORDER ON APPLICATION
LLC, GARY WINNICK, CARL KATERNDAHL, ASHOK                                  OF NON-RESIDENT ATTORNEY TO APPEAR
VASUDEVAN, ANDREAS BITZARAKIS, AND TYLER                                       IN A SPECIFIC CASE PRO HAC VICE
KRATZ,
                                                      Defendant(s).
The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Austin, Perry F.                                  of WILLIAMS & CONNOLLY LLP
Applicant’s Name (Last Name, First Name & Middle Initial)                  680 Maine Avenue, SW

202-434-5000                       202-434-5029                            Washington, D.C. 20024
Telephone Number                    Fax Number
paustin@wc.com
                          E-Mail Address                                   Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of
T-MOBILE US, INC., CLEARWIRE SPECTRUM HOLDINGS LLC, CLEARWIRE SPECTRUM HOLDINGS II LLC, CLEARWIRE SPECTRUM HOLDINGS III
LLC, FIXED WIRELESS HOLDINGS LLC, NSAC LLC, TDI ACQUISITION SUB LLC, and WBSY LICENSING LLC
Name(s) of Party(ies) Represented                                       Plaintiff(s)   Defendant(s)      Other:
and designating as Local Counsel
Rosenfeld, Jeffrey A.                                                  of ALSTON & BIRD LLP
Designee’s Name (Last Name, First Name & Middle Initial)                   333 South Hope Street, Sixteenth Floor
136896                    213 576 1000           213 576 1100              Los Angeles, CA 90071
Designee’s Cal. Bar No.    Telephone Number         Fax Number
jeffrey.rosenfeld@alston.com
                         E-Mail Address                                    Firm/Agency Name & Address
 HEREBY ORDERS THAT the Application be:
 X GRANTED.
     DENIED: for failure to pay the required fee.
             for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
             for failure to complete Application:
             pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
              is regularly employed or engaged in business, professional, or other similar activities in California.
             pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;    does not maintain office in District.
             because
 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                  be refunded     not be refunded.
Dated       September 18, 2023
                                                                                Dolly M. Gee, U.S. District Judge

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